Case 1:18-cv-06858-RPK-SJB Document 35 Filed 06/24/20 Page 1 of 2eeplaw.com
                                                                   PageID #:   97
                                                                             80 Pine Street, 38 Floor
                                                                            th

                                                                             New York, New York 10005
                                                                             T. 212.532.1116 F. 212.532.1176

                                                                             New Jersey Office
                                                                             576 Main Street, Suite C
                                                                             Chatham, New Jersey 07928

                                                                             JOHN ELEFTERAKIS*
                                                                             NICHOLAS ELEFTERAKIS
                                                                             RAYMOND PANEK

                                                                             OLIVER R. TOBIAS
                                                                             JEFFREY B. BROMFELD
                                                                             FAIZAN GHAZNAVI
                                                                             GABRIEL P. HARVIS
                                                                             BAREE N. FETT
                                                                             STEPHEN KAHN
                                                                             EVAN M. LA PENNA
                                          June 24, 2020
                                                                             KRISTEN PERRY – CONIGLIARO
                                                                             AIKA DANAYEVA
BY ECF                                                                       ARIANA ELEFTERAKIS
                                                                             MICHAEL INDELICATO
Honorable Sanket J. Bulsara                                                  MICHAEL MARRON
                                                                             DOMINICK MINGIONE
United States Magistrate Judge                                               MARK NEWMAN
Eastern District of New York                                                 AGGELIKI E. NIKOLAIDIS
                                                                             JOSEPH PERRY
225 Cadman Plaza East                                                        MARIE LOUISE PRIOLO *
                                                                             KEYONTE SUTHERLAND
Brooklyn, New York 11201                                                     WAYNE WATTLEY

                                                                             *Also Admitted In New Jersey
       Re:    Vasicka, et al. v. Kerwin, et al., 18 CV 6858 (RPK) (SJB)

Your Honor:

      I represent plaintiffs in the above referenced matter. I write jointly with
defendants to respectfully request: 1) a ninety-day extension of the existing discovery
schedule; and 2) adjournment of the settlement conference until after the close of fact
discovery.

      By status report dated February 28, 2020 plaintiff and defendant Kerwin jointly
proposed a discovery schedule by which fact discovery was to be completed by June 29,
2020 and all discovery completed by August 28, 2020. See DE #32. By order dated
March 1, 2020, the Court adopted the proposal and adjourned the previously-
scheduled settlement conference to August 4, 2020.

       If it should please the Court, the parties’ February 28th letter was filed before the
extent of the disruption that the COVID-19 pandemic would cause was apparent. As a
result of those disruptions, which are only now subsiding, the parties have been unable
to conduct depositions. The parties have conferred and, subject to the Court’s approval,
tentatively scheduled fact depositions to take place remotely in the second half of
August. The instant application is intended to permit those depositions to proceed and
to account for the possibility of unexpected scheduling issues.
Case 1:18-cv-06858-RPK-SJB Document 35 Filed 06/24/20 Page 2 of 2 PageID #: 98

Hon. Sanket J. Bulsara
June 24, 2020

      Accordingly, the parties respectfully propose the following revised discovery
schedule for the Court’s review and endorsement:

      Fact discovery to be completed by:                      September 28, 2020
      Exchange of expert reports by:                          October 28, 2020
      Expert depositions and all discovery completed by:      November 27, 2020
      Deadline to initiate dispositive motions:               December 28, 2020

       The parties have also discussed the scheduling of the settlement conference and
believe that it would be most beneficial to schedule that proceeding to take place after
the close of fact discovery.

      In light of the foregoing, the parties respectfully request that: 1) the Court review
and endorse the proposed revised discovery schedule; and 2) adjourn the settlement
conference scheduled for August 4th to a date and time convenient to the Court after
September 28th.

      Thank you for your consideration of this request.

                                         Respectfully submitted,

                                         Gabriel P. Harvis

cc:   All Counsel




                                           -2-
